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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

LAW OFFICES OF STEVEN A. SERNA, LLC                                    Order Filed on October 28, 2022
5300 Bergenline Avenue, Suite 300                                      by Clerk
                                                                       U.S. Bankruptcy Court
West New York, New Jersey 07093                                        District of New Jersey
Telephone Number (201) 392-0303
Attorney for Debtor
By: Steven A. Serna, Esq.
Email: BK@SernaEsq.com




                                                            Case No.:               22-15366
                                                                              ___________________
In Re:
                                                                               10/27/2022
                                                            Hearing Date: ___________________
Johnson Torres,
                                                            Chapter:                   13
                                                                              ___________________
                    Debtor.
                                                            Judge:              Vincent F. Papalia
                                                                              ___________________



                                         ORDER AUTHORIZING
                                        SALE OF REAL PROPERTY

           The relief set forth on the following pages numbered two (2) and three (3), is
           ORDERED.




   DATED: October 28, 2022
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     After review of the Debtor’s motion for authorization to sell the real property commonly
                      26 Lincoln Avenue, Newark, NJ
known as ___________________________________________________, New Jersey (the Real
Property).

IT IS hereby ORDERED as follows:

1. The Debtor is authorized to sell the Real Property on the terms and conditions of the contract
of sale pursuant to 11 U.S.C. §§ 363(b) and 1303.

2. The proceeds of sale must be used to satisfy the liens on the real property unless the liens are
otherwise avoided by court order. Until such satisfaction the real property is not free and clear of
liens.

3. ☐ In accordance with D.N.J. LBR 6004-5, the Notice of Proposed Private Sale included a
request to pay the real estate broker and/or debtor’s real estate attorney at closing. Therefore the
following professional(s) may be paid at closing.

 Name of professional: R.E. Brokers (ProVista Realty and Weichert)/Attorney (Steven Serna)

 Amount to be paid:      $31,750/$3,850

 Services rendered:      Sale of Property/Legal Representation on Sale




OR: ☐ Sufficient funds may be held in escrow by the Debtor’s attorney to pay real estate
broker’s commissions and attorney’s fees for the Debtor’s attorneys on further order of this
court.

4. Other closing fees payable by the Debtor may be satisfied from the proceeds of sale and
adjustments to the price as provided for in the contract of sale may be made at closing.




                                                  2
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5. The amount of $_____________
                     27,900.00 claimed as exempt may be paid to the Debtor.

6. The ☐ balance of proceeds or the ☐ balance due on the debtor’s Chapter 13 Plan must be
paid to the Chapter 13 Trustee in the Debtor’s case.

7. A copy of the HUD settlement statement must be forwarded to the Chapter 13 Trustee 7 days
after closing.

8. ☐ The debtor must file a modified Chapter 13 Plan not later than 21 days after the date of this
order.

9. Other provisions:




                                                                                          rev.1/12/22




                                                3
